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             EXHIBIT 4
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Deposition of Amnon Geshuri                       In Re: I HGH-TECH EMPLOYEE ANTITRUST LITIGATION

                                         UNITED STATES DISTRICT COURT

                                       NORTHERN DISTRICT OF CALIFORNIA

                                              SAN JOSE DIVISION




                       IN RE: HIGH-TECH EMPLOYEE         )

                       ANTITRUST LITIGATION              )

                                                         )    No. 11-CV-2509-LHK

                       THIS DOCUMENT RELATES TO:         )

                       ALL ACTIONS.                      )

                                                         )



                                  ATTORNEYS' EYES ONLY - HIGHLY CONFIDENTIAL



                                     VIDEO DEPOSITION OF ARNNON GESHURI



                                              AUGUST 17, 2012



                              Reported by: Rosalie A. Kramm, CSR No. 5469, CRR




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 10:15:35 1            fill that job through the various methods that you come

 10:15:37 2            up with, it's up to that recruiter to get it done.

 10:15:42 3                   Q.   And those methods included sourcing, correct?

 10:15:46 4                   A.   Those methods included sourcing.

 10:15:50 5                   Q. Do you have any idea in terms of breakdown by

 10:15:54 6            time what proportion of time that the recruiting

 10:15:59 7            organization spent on the sourcing part of it in terms of

 10:16:03 8            relying on that sourcing method.

 10:16:05 9                        MR. RUBIN: You're saying in terms of person

 10:16:07 10           hours?

 10:16:08 11                       MR. HARVEY: Yes.

 10:16:12 12                       THE WITNESS: I -- I -- I -- so I'm not quite

 10:16:14 13           sure how it's broken down. I would -- I would -- the

 10:16:18 14           recruiters -- one of the things that I mentioned before

 10:16:21 15           is that we had over 2 million applications that came in,

 10:16:26 16           and a recruiter's pipeline was pretty full. So their

 10:16:33 17           responsibility was to get through that pipeline the

 10:16:35 18           majority of the time, and -- and whether that came from

 10:16:37 19           the employee referral program or through the extranet

 10:16:42 20           website -- so I don't know the exact breakdown.

 10:16:46 21           BY MR. HARVEY:

 10:16:47 22                  Q.   But the primary responsibility of a recruiter

 10:16:50 23           is to find good people, correct?

 10:16:52 24                  A.   The primary responsibility is to find good

 10:16:54 25           people that will fit the roles within the company, the

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 10:16:58 1            company's needs at the time.

 10:16:59 2                   Q.   And so -- okay. That's fine.

 10:17:16 3                        And the recruiting organization, I believe you

 10:17:19 4            said that when you were hired, there were II people in

 10:17:22 5            this organization, and when you left, there were

 10:17:24 6            approximately III, correct?

 10:17:27 7                   A.   Not exactly. So during the heyday, or as we

 10:17:32 8            ramped up, we -- we hit around                   staffing

 10:17:37 9            professionals in the company. But when I left, it was a

 10:17:41 10           different number, which I don't -- I don't know, because

 10:17:43 11           I was out of that role when I left the company.

 10:17:46 12                       So -- so basically -- but during its most

 10:17:49 13           prolific time, it was around III people.

 10:17:53 14                  Q.   And what years fell into this prolific period?

 10:17:57 15                  A.   It was probably the -- well, it wasn't

 10:17:59 16           immediate, because I had to build up to that. So it was

 10:18:02 17           probably -- maybe my second or third year there, those

 10:18:06 18           are the two -- the two years.

 10:18:08 19                  Q•   So 2005, 2006?

 10:18:10 20                       This was -- yeah, and I think that was parallel

 10:18:14 21           to the growth of the company. We can look at the

 10:18:16 22           headcount numbers of the company, but you can see how it

 10:18:19 23           was a pretty big spike in growth.

 10:18:21 24                  Q.   Sure. And let's see.

 10:18:24 25                       When you became the director of HR, I take it

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 10:18:29 1             in approximately the beginning of 2009, roughly how many

 10:18:32 2             people worked in the recruiting organization?

 10:18:36 3                    A.   I -- I don't -- I actually don't recall.

 10:18:39 4                    Q.   Was it more than III?

 10:18:41 5                    A.   Yeah, I -- I don't -- I don't recall. It was

 10:18:43 6             in               , but I don't -- I don't recall the exact

 10:18:46 7             number when I left.

 10:18:52 8                    Q.   Did you rely exclusively on Google employees as

 10:18:55 9             part of this recruiting function, or did you also

 10:18:57 10            occasionally rely on third-party recruiters?

 10:19:01 11                        MR. RUSIN: Objection. Vague as to "third

 10:19:03 12            parties."

 10:19:04 13                        THE WITNESS: Describe third-party recruiters

 10:19:06 14            to me, if you don't mind.

 10:19:08 15            BY MR. HARVEY:

 10:19:08 16                   Q.   Anyone who would recruit on Google's behalf who

 10:19:12 17            was not on Google's direct payroll.

 10:19:14 18                        MR. RUBIN: Same objection.

 10:19:16 19                        THE WITNESS: So we -- so --- from my -- from

 10:19:22 20            how we structure the organization, just really briefly,

 10:19:27 21            is that for very senior level hires, we on occasion would

 10:19:32 22            use a search firm that would help us to find very senior

 10:19:36 23            people.

 10:19:38 24            BY MR. HARVEY:

 10:19:40 25                   Q.   Would you use -- well, were there any other

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 10:24:18 1                   Q.   Do you remember whether it was in 2004 or 2005?

 10:24:23 2                        MR. RUBIN: Objection. Calls for speculation.

 10:24:24 3                        THE WITNESS: Yeah, I still don't remember

 10:24:25 4            exactly when we hired the first sourcer. It's just not

 10:24:28 5            specific to me. I can't remember.

 10:24:30 6            BY MR. HARVEY:

 10:24:30 7                   Q. How many people worked in sourcing when it was

 10:24:33 8            at its largest size?

 10:24:36 9                   A.   I -- I probably had -- of order of magnitude,

 10:24:44 10           probably         II people doing sourcing, out of a team of

 10:24:48 11

 10:24:49 12                  Q.   Oh, so you're including that within the III?

 10:24:53 13                  A. Yeah.

 10:24:53 14                  Q.   In terms of --

 10:24:53 15                  A.   I said that -- before I mentioned III staffing

 10:24:55 16           overall.

 10:24:56 17                  Q.   I see. Thank you.

 10:25:09 18                       And then moving on to your final role at

 10:25:11 19           Google, when you were director of HR, could you -- could

 10:25:18 20           you kind of describe categories of responsibilities you

 10:25:22 21           had in that role.

 10:25:24 22                  A.   Yeah. I -- I was basically responsible for --

 10:25:29 23           for a specific area within -- within the engineering

 10:25:32 24           organization to support the employee base. So that means

 10:25:35 25           that I handled employee relations issues. I helped to

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 10:25:44 1            deal with, you know, personal -- or like ergonomic

 10:25:50 2            issues, when people had problems with their work space,

 10:25:53 3            or if they had medical problems how they got on

 10:25:55 4            disability and things like that. So I basically just

 10:25:57 5            handled a variety of employee issues to help -- to help

 10:26:01 6            those groups function within the work environment.

 10:26:12 7                   Q     And did you have any other responsibilities

 10:26:14 8            while you were in HR, aside from the ones that you

 10:26:18 9            described?

 10:26:18 10                  A.   There was a variety -- whatever it was -- there

 10:26:19 11           was a variety of roles, but it all focused on -- Dean, it

 10:26:23 12           all focused on the -- the interaction of employees, you

 10:26:28 13           know, if managers had a low performer, helping them walk

 10:26:31 14           through that, how to -- how to help that employee get

 10:26:35 15           better or whatever else we need to do. So that -- so

 10:26:38 16           basically I was -- I was responsible for helping managers

 10:26:41 17           and employees just deal with the work environment. But

 10:26:44 18           the issues were pretty varied, and I just helped to --

 10:26:47 19           helped them to make it through the -- make it through and

 10:26:50 20           be a better -- better person as an outcome.

 10:27:37 21                       MR. HARVEY: I believe this is Exhibit 170.            If

 10:27:38 22           you could please mark this and hand it to the witness.

 10:27:41 23                       (Exhibit 170 was marked for identification.)

 10:27:41 24           BY MR. HARVEY:

 10:27:42 25                  Q.   This document is a PDF of the current bios of

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                 1                  I, Rosalie A. Kramm, Certified Shorthand

                  2     Reporter licensed in the State of California, License No.

                  3     5469, hereby certify that the deponent was by me first

                  4     duly sworn and the foregoing testimony was reported by me

                  5     and was thereafter transcribed with computer-aided

                  6     transcription; that the foregoing is a full, complete,

                  7     and true record of said proceedings.

                  8                 I further certify that I am not of counsel or

                  9     attorney for either of any of the parties in the

               10       foregoing proceeding and caption named or in any way

               11       interested in the outcome of the cause in said caption.

                12                  The dismantling, unsealing, or unbinding of the

               13       original transcript will render the reporter's

               14       certificates null and void.

               15                   In witness whereof, I have hereunto set my hand

               16       this day:    August 24, 2012.

               17                     X     Reading and Signing was requested.

               18                           Reading and Signing was waived.

               19                           Reading and signing was not requested.

               20

               21

               22                                       ROSALIE A. KRAMM

               23                                       CSR 5469, RPR, CRR

               24

               25

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